                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

JANE DOE 1, et al.,                              )
                                                 )
                                                 )
                  Plaintiffs,                    )
                                                 )
           v.                                    )      Case No. 2:19-CV-4229-NKL
                                                 )
THE CURATORS OF THE                              )
UNIVERSITY OF MISSOURI,                          )
                                                 )
                                                 )
                  Defendant.                     )

                                       ORDER OF DISMISSAL


           Having been notified of the settlement of this case, and it appearing that no issue remains

for the Court’s determination, it is hereby

           ORDERED that the above-styled action is DISMISSED with prejudice and without costs

to any party. In the event, however, that the settlement is not perfected, any party may move to

reopen the case, provided that such motion is filed within 45 days of the date of this Order. In

addition, the Court retains jurisdiction over enforcement of the settlement agreed to by the

parties.




                                                        s/ NANETTE K. LAUGHREY
                                                        NANETTE K. LAUGHREY
                                                        United States District Judge

Dated: September 28, 2022




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